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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

CIBC BANK USA f/k/a THE PRIVATE     )
BANK AND TRUST COMPANY, as          )
Administrative Agent,               )
                                    )
           Plaintiff,               )                      No. 18-cv-3964
                                    )
      vs.                           )
                                    )                      Judge John Z. Lee
JH PORTFOLIO DEBT EQUITIES, LLC; JH )                      Magistrate Judge Sunil R. Harjani
PORTFOLIO DEBT EQUITIES 2, LLC; JH )
PORTFOLIO DEBT EQUITIES 4, LLC; and )
JH REVIVER LLC,                     )
                                    )
           Defendants.              )

     MOTION FOR ENTRY OF JOINT STIPULATED ORDER AUTHORIZING
   NATIONAL CREDIT ADJUSTERS, LLC TO TURN OVER DATA TO RECEIVER

        Plaintiff CIBC USA f/k/a The Private Bank and Trust Company (“Plaintiff”) and Ronald

W. Greenspan, not personally, but solely as the receiver (“Receiver”) appointed by the Stipulated

Order for Immediate Appointment of Receiver, dated February 8, 2019 [Docket #91] (“Receiver

Order”), together with non-party National Credit Adjusters, LLC (“NCA,” and collectively with

Plaintiff and the Receiver, the “Moving Parties”), jointly move the Court (the “Joint Motion”) to

enter the Joint Stipulated Order Authorizing NCA to Turn Over Data to Receiver in the form

attached hereto as Exhibit 1 (the “Stipulated Order”). In support of the Joint Motion, the Moving

Parties state:

        1.       Among the “Receivership Property” created by the Receiver Order is that certain

portfolio commonly referred to as the “Reviver Portfolio.”

        2.       The Receiver has selected Allgate Financial, LLC (“Allgate”) to service the

Reviver Portfolio in succession to defendant JH Reviver.
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       3.      NCA holds account-level data pertaining to the Reviver Portfolio, including

personally identifiable financial information for more than one million consumer accounts (the

“Reviver Portfolio Data”).

       4.      The Receiver and Allgate require access to the Reviver Portfolio Data in order to

properly service the Reviver Portfolio.

       5.      Because of various regulatory and privacy concerns that apply to the Reviver

Portfolio Data, the Moving Parties believe that it is expedient and necessary to authorize and direct

NCA to transfer the Reviver Portfolio Data by way of a stipulation and order entered by the Court.

       6.      The Stipulated Order reflects the Moving Parties’ stipulations of fact, and relief

requested from the Court.

       WHEREFORE, the Moving Parties respectfully move the Court to grant the Joint Motion,

enter the Stipulated Order in the form attached as Exhibit 1 and award such further relief as the

Court deems necessary and proper.

Dated: April 18, 2019                                Respectfully submitted,
                                                     Ronald W. Greenspan, Receiver

                                                     By /s/ Terence G. Banich
                                                                  One of his attorneys
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